Case: 4:07-cr-00759-JCH   Doc. #: 122 Filed: 08/01/08   Page: 1 of 7 PageID #:
                                     536
Case: 4:07-cr-00759-JCH   Doc. #: 122 Filed: 08/01/08   Page: 2 of 7 PageID #:
                                     537
Case: 4:07-cr-00759-JCH   Doc. #: 122 Filed: 08/01/08   Page: 3 of 7 PageID #:
                                     538
Case: 4:07-cr-00759-JCH   Doc. #: 122 Filed: 08/01/08   Page: 4 of 7 PageID #:
                                     539
Case: 4:07-cr-00759-JCH   Doc. #: 122 Filed: 08/01/08   Page: 5 of 7 PageID #:
                                     540
Case: 4:07-cr-00759-JCH   Doc. #: 122 Filed: 08/01/08   Page: 6 of 7 PageID #:
                                     541
Case: 4:07-cr-00759-JCH   Doc. #: 122 Filed: 08/01/08   Page: 7 of 7 PageID #:
                                     542
